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EXHIBIT 6
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Smith-Charlton, Cindy (Smith} rough transcript 10/3/2007 9:14:00 AM

1 : -

 

1 CASE: IN THE UNITED STATES DISTRICT COURT
2 FOR THE DISTRICT OF MASSACHUSETTS
3. DEPOSITION OF: IN RE: NEURONTIN MARKETING, SALES )

4 DATE: , 2003 PRACTICES AND PRODUCTS LIABILITY }

5 LITIGATION )

6 IMPORTANT NOTICE }

7 PLEASE READ BEFORE USING REALTIME ROUGH DRAFT )

8 AGREEMENT OF PARTIES )

9 WORKING WITH REALTIME ROUGH DRAFTS }

10 , ) CASE NO.

11 We, the party working with the realtime ) 04-10981

12 and rough draft transcripts, understand that if we
rovg PIS, understand that Hw THIS DOCUMENT RELATES TO: ~—}

)
RUTH SMITH, individually and as}
Widow for the use and benefit of }
herself and tha next of kinof

13 choose to use the realtime rough draft screen ar
14 printout, we are doing so with the understanding
15 that the rough draft is an uncertified copy.

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17 scan, fax, or in any way distribute this realtime

 

18 = rough draft in any form {written or computerized) Richard Smith, deceased. )
19 to any party. However, our own experts, }
20 counsel, and staff may have limited internal 05-CV-11515 )
21 suse of sama, with the understanding that we agrea )
22 to destroy our realtime rough draft and/or any VIDEOTAPED DEPOSITION OF
23° computerized farm, if any, and replace # with the CINDY SMITH-GHARLTON
24 final transcript upon its completion. Taken on Behalf of the Defendant
25 _ October 3, 2007
2 4
1 REPORTER'S NOTE 1. APPEARANCES:
2 2 For the Plaintiff:
3 MAURA C. KOLB
3 Since this deposition has been realtimad KENNETH 8. SOH
4 andis in rough draft form, please be aware that 4 Lanier Law Firm
6810 F.M. 1960 West
5 there may be discrepancies regarding page and line 5 Houston, Texas 77069
6 number when comparing the realtime screen, the 713.659.5200
: 6 713.659.6416
7 ~~ rough draft, rough draft disk, and the final wmi@Janiarawfirm.com
8 transcript. 7 kss@lanierlawfirm.com
9 Also please be aware that the realtime 5 mek@lanierlawfirm.com
10 screen and the uncertified rough draft transcript 9 = For the Defendant:
: 10 KENNETH J. FERGUSON
11.) may contain untranslated steno, reporter's notes, Clark, Thomas & Winters
12. FLAG or SPELL strokes, or nonsensical English word 1 P.Q. Box 1148
13. combinations. All such entries will be corrected Austin, Texas 78767
12 512.472.8800
14 on the final, certified transcript. §12.474.14129
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21 19
20
22
21
23 22
24 23
24

 

 

 

 

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65 a7
i than just pain that you reported to Dr. Mackey on 1 discussed the possibility of — of performing
2 that day “FLAG? 2 surgery on his shoulder?
3. A. We wanted his pain to go away. 3. A. I don't know.
4 MR. FERGUSON: We need to just change 4 ©. But you were aware of it because of
& tapes rea! quick. § conversations with your father or your mother
6 THE VIDEOGRAPHER; We are going off 6 fair?
7 {the record. Time on the monitor is 10:44. 7 AL Yes.
& (Brief recess observed.) 8 Q. — Interms of the issues that led up to his
9 THE VIDEOGRAPHER: Back on the 9 having the knee replacements and the hip
10 = record, here marks the beginning of Tape No. 2 in 10 replacement, did you or your sisters help -- well,
11. the deposition of Cindy Smith-Charton, Volume 1, 11. Jet me ask you, did any of you to your knowledge
12 The time is 10:48. 12. go to his doctors appointments leading up to the
13. BY MR. FERGUSON: 13. knee and hip replacements?
14 @. Back on the record. Ready to go? 14 A, To the best of my knowledge, no.
16 A. Yes. 15 @. And / guess what I’m trying to figure out
16 Q. Okay. We had talked a bit about the wo 16 is, from your perspective, what was differant
17 — knee replacements and the hip replacement your 17 about March of — of ‘04? You said you and your
18 = father had had. | just want to hit on a few 18 sisters were trying to be supportive of your
19 things in his past. And you may or may not know 19 father.” And you wera going along to visits with
20° anything about these, and | wert dwell on therm. 20 him in March '04, but you didn't back in prior
21 But were you aware that your father had 21 years when he was having these -- these issues
22 ~—had some prostate issues in the past? 22 that led that joint write placements.
23. =A Yes. 23 What was different in ‘04?
24 . And that he had had prostate surgery at 24 MS. KOLB: Gbjection, form.
25 same point? Go you understand that? 25 MR. FERGUSON: Sure.

66 68
1 A. Yes. 1 THE WITNESS: Could you repeat the
2 @.  Anddo you understand that he -- he had 2 question, Ken, please?
3s had some off anc on continuing issues following 3. BY MR. FERGUSON:
4 the process state surgery? 4 Q. Sure, sure. Why was it that y'all ware
& A. Idon't know. 5 = going te appointments with him in 2004 and didn't
6 To your knowledge and to your observation, 6 goto appointments with him in the past when he
7 at any point in his life, did the -- the hip or 7 had had issues that were significant enough to
8 = knee replacements interfere with his -- his 8 actually have replacements of both knees and hip?
3 ability to participate in activities or ability to 9 MS. KOLB: Objection, form.
10 do things? 10 THE WITNESS: Well, first of all, |
11. A. He wasn't comfortable standing for long 41. don't recall specifically if we went to other
12 periods of time. 12. dector appointments, so | wouldn't know if there
13° Q. — Butother than that, generally, obviously 43° was anything specifically different about his back
14 — except for right after the surgeries, he was able 14s versus his knees.
15 to -- able to do what he needed to do? 15° BY MR. FERGUSON:
16 A. Yes. 16 @. Okay. You said first of all. Was there a
17) @. Were you aware of him having some problems 17 ~— second of all or -
18 with his left shoulder at any time? And I'm 48 A. Well, we're a supportive family.
19 talking about — this is probably in the eight 19 «=Q. From your observation, in March of 2004,
20 ~—s- years or So prior to his death. 20 was his -- his back problem and his leg problems
21 =A. Yes. 21 ~~ affecting his ability to -- to live his everyday
22. Q. Okay, And what kind of problerns were you 22 ~~ ‘(fifa more than the pror problems had been with
23 aware of that he had with his shoulder? 23 his joints?
246A. sl was aware of arthritis. 24 A. Could you clarify live his everyday life?
239 @. Do you know if the physicians had 25 ‘I'm nat sure what you mean there.

 

 

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109 111

1 discussed as a possibility; is that correct “FLAG? 1 react to that news that surgery was not gaing to

2 A. Yes, Dr. Mackey brought that up. 2 be an option tor him?

3. @. Bo - do you know from sources within your 3. A. I think he rernained hopeful for for

4 family or doctors or anybody what ultimately 4 altemative measures.

§ happened? Did Dr. Mackey ultimately say he could 5S . And do you know what alternative measures
6 = or could not help your father with further 6 ~~ were being recommended?

7 surgery? 7 <A. I'mnot sure what you mean by recommended
68 A. My recollection is that Or. Mackey said it 8 = or who recommended.

9 might heip; it might not help. It might make 9 Q. Sure. Okay.

10s things worse. 16 A. We were researching therapy options and

174 Gs And do you understand that ~ that your 11 things of that nature.

12 father went, again, to see Dr. McCombs after 12 Q. Okay. That's fair. Let me ask you this,

13. having seen Dr. Mackey? 13 do you know what other options, either Gr. McCombs
14 A. If that’s what the record says. | have no 14 or Dr. Mackey had recommended for him?

18 recollection. 45° =A. No.

16 Q. And that’s what the records say, but I'm 16 Q, What sort of research were you and your

17 trying to get what — what you know about it not 17_~— family doing in order to find him some help? What
18 only from your personal knowledge but from your 18 ~~ were you taoking into?

19 ~— family -- your close family that was discussing 19° «=A. Talking to family and friends that had
20 =‘ these matters? 20 experienced similar back issues.
21 =A. Lunderstand. 21 Q. And what kind of information were you
22 @. Okay. Andis it fair to say that this was 22 ~~ getting from — from that that you thought might
23° a very important issue within your family during 23 «help your father, if any?
24 ~~ ‘this time period in March of 2004, trying to -- to 24 A, {had not found any information.
25 ~~ help your father get the best help he could gat? 25 Q. Had your sisters or your mother or your

110 112

1 AL Yes. 4 brothers in law found any information from others
2 Q. — Dr. McCombs’ note of March 31 of 2004, 2 that they thought might be helpfui in finding some
3. sindicates that Dr, Mackey did not feel that the 3s help for your father?

4 patient needed additional surgery, and goes on to 4 A. Mysister Gayle had located a doctor who

§ — say in Dr. McCombs’ opinion he is to the a 5 ~~ we thought might be helpful. I'm not sure what he
6 candidate for any type of operative intervention. 6 was going te do, but it sounded very positive.

7 My question is, during this period late ? Q. = And who was that doctor?

8 = March of 2004, did you became aware that the 8 A. |don'tremember his name. It was

9 surgeons your father was looking to for help 9 ~~ something like Dr. Ching or Chang or — | don’t

10 basically told him they probably couldn't help him 10° = remember.

11. froma surgical standpoint? 11. #Q. Okay. And where was that doctor located
12 A. I'mnot sure of the time frame, but | 12. (brathers-in-law)?

13 believe that that did occur. 13° 0A. I den't remember.

14. Q@. So you, obviously your father, your 14. Q@. ~~ Bo you know whether or not that doctor was
15 mother, your family were seeking help for -- for 15 associated with Vanderwill, if you know one way or
16 your father, whether that was surgery or — or 16 the other?

17 — ather options? And at some point around this time 17— = A. If | were going to guass, | would think

18 frame -- you don’t know the exact date -- the 18 thal was correct. | wasn't involved in those

19 surgeons indicated they couldn't help him - 19 direct communications.
20 ~~ surgically? 20 @. And do you know what kind of doctor that
21 A. Again, I'm not sure of the time frame. | 21 was?
22 do believe that surgical options or — it was 22. =A. No,
23 concluded that surgery was not going to be an 23° G. And you don't know what kind of potential,
24° s option. 24 ~—sopassible treatment was proposed by this doctor or
25 @. Howdid your father in your observation 25 was being considered?

 

 

 

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13 118
1 A. No. 1 socialize as friends particularly.
2 Q. — And my understanding, am | correct — 2 @. What kind of activities did your father
3 swell, do you know whether your father, period of 3 like to participate in? And let's take like the
4 time, ever saw this doctor? 4 last ten years of his lifa. What kinds of things,
5 A. He dad an appointment scheduled the 5 other than his work at Nashville Office Machines
6 = morning he died, ¢ do not believe he saw him 6 — and his work at the church, what other
7 before that. 7 recreational things would he do?
6 Q Okay. 8 A. He enjoyed yard work and being with
9 Q. So this was a doctor he was supposed to 9 family, and he enjoyed music.
10 see the day of his death, and he had never seen 10 @. How about, did he aver like to work on ~
11. him previously; is that your understanding? 11. work on a car, work on cars at all?
12 MR. FERGUSON: Do you guys want to 12 A.  Hedid some.
13. take a lunch break? 13° Q. You wouldn't put that as major as the
14 MR. SOH: Sure. 14 ather ones you mentioned?
15 THE WITNESS: if you want to, we'll 15 A. That's correct.
16 doit. 16 @. During the several months prior to his
17 THE VIDEOGRAPHER: We are now gsing 17 ~— death, was he able to do yard work?
18 ~— off the record, the time on the video monitor now 18 AL Yes.
19 is 10—ar 12:10. 19 @.  Didhe have problems doing yard work?
20 (Luncheon recess observed.) 20 =A. | don't remember.
21 THE VIDEOGRAPHER: We are now going 21. &. So you just don't recall one way or tha
22 back onthe record. The time on the video monitor 22 other whether the pain that he's having -- ha was
23 is 1317. 23 having during that time peried affected his
24 BY MR. FERGUSON: 24 ability to — to do the yard work he enjoyed?
25 Q.~ Ms. Chariton, are you ready to proceed? 25 A. Hedid yard work. He would not always
114 116
1 A. Yas. 1 ride a lawn mower,
2 Q. Okay. We talked earlier about any 2 ©. 9 Okay. I'm not quite sure what that means.
3. discussion about having your father see a 3. He wouldn't — did he have a riding lawn mower?
4 psychiatrist, psychologist, counselor, or other 4 A. Yes,
5 mental healthcare practitionar. Do you remember §&  @. How long had he had a riding lawn mower?
6 that we had -- we talked about that? 6 A. Almost as long as | can remember. { can't
7 A. Yas. 7 ~~ give you a — a year.
8 ©. Oo you know whether your father ever saw & @. Scare you saying in the months preceding
9 a-apastor, a minister, any religious leader to 9 = his death, he wasn't able to ride the lawn mower
10 discuss his problems of pain? 10 lika he had in the past?
11 A. No. 11. A. My recollection is he would not ride the
12, Q. You're not aware that he did? 12. lawn mower. .
13° A. I'm not aware that he did. 13°. And when did he stop riding the lawn
14 &. During the year, let's say year prior ta 144, mower?
15 your father's death, what church did your father 15 A. idon’t know exactly.
16 attend? 16 Q.  Wasit years before his death or within a
17. A. Jackson Park Church of Christ. 17-year before his death, if -- if you know?
18 @. And | forget if that was the ones you 18 A. Within a year before his death.
19 = already told me -- one of the ones you already 19 = @. And what kind of musical activities did he
20 told me about. | don't think so. 20 —_‘tike te participate in?
21. A. I den't think I've mentioned it before. 21 A. He would play the guitar and play the
22 Q Okay. Who was the pastor at that church? 22. ~—sobanje and sing.
23° 0A. Jim Olive. 23° @. Does that mean - just at church, or did
24° =#Q And was Jim Olive a friend of your dad's? 24 ~~ he de that around the house?
25 A He knew him. | don't believe they would 25 =A. He did it around the house.

 

 

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THE WITNESS: | did not understand it

 

125 127
1 why did you want him to write that down? What is 1 to be any more severe pain than what he had
2 it you were -- you were trying to figure out? 2 experienced previously in his life.
3 MS. KOLB: Objection, form. 3. BY MR. FERGUSON:
4 THE WITNESS: Could you repeat the 4 Q.  At-—at that time when you indicated your
5 question, Ken? . 5 family was clueless — and that's your term. I'm
6 BY MR. FERGUSON: & not trying to be disrespectful at all. You
7 QQ. Sure. 7 understand that?
8 A. Orclarify? € A. [understand. No, that was my term.
59 Q. Sure. 5 QQ. When you indicated your family was
10 You asked Dr. Wood to write down his 10 clueless about the reason for this, were you aware
14. recollection of his -- the visit with your father 11. of the statement in Dr. McCombs' records from
12. several days previously? 12 about a year previously indicating that your
13° =A Yes. 13. father had stated that he wanted to die because of
14. Q. And! just trying to understand what the 14 pain and depression?
15 purpose of that was. 15 AL ONO.
16 =A. We were trying to understand any reason 16 @. When you did find out about that
17 — that might have caused my father’s death. As | 17 statement, did that help at all in explaining the
18 said, we were clueless. We had no idea why what 18 = reason for your father’s actions?
19 happened happened. And we were attempting to 19 MS. KOLB: Objection, form.
20 =~ gathar information that might give us some clues, 20 THE WITNESS: Could you clarify,
21 and that included history. 21 ~~ please?
22 Q. Did you have any discussion with Dr. Wood 22 BY MR. FERGUSON: ,
23° at the funeral home on that day you believe te be 23° 4=@. Sure. You said your family was looking
24 = Saturday regarding the drug Neurontin? 24 ~~ for -- for the explanation why your father did
25 A. Wo. . 25 ~=whathe did. Am | correct about that?
126 128
1 Q. And -- and let me ask you a few questions 1 A. Yes.
2 about your comment that the family had no idea 2 @ — Andwhen you did subsequently find that
3. what your father had done what he had done. Is 3. out back in early May 2003, he had said to .
4 that an accurate - accurate repetition of your 4 someone, apparently according to the medical
5 statement? Your family just didn’t know what — 5 records, that he wishes he could die because of
6 why -- 6 pain and depression. Did that help you personally
7 A. Thatis correct. We had no idea. 7 try to explain why he had acted in the way he had?
8 QQ. Yalldidn’t know that your father had & A. No.
9 been in severe pain for a — for months, didn't 9 @. Okay. Why not?
10 = you at least? 10 A. Because my father was not depressed.
11 MS. KOLB: Objection, form. "1 {Marked Exhibit No. 1.)
12 THE WITNESS: We knew he had been in 12. BY MR. FERGUSON:
13° spain, 13. Q  ~ Letme show you a document we discussed
14. BY MR. FERGUSON: 14 — earlier, which is a record -- page from a record
15 Q. Okay. Because there was an objection — 15 — of Neurosurgical Associates, which is Dr. McCombs’
16 I'm not sure what the basis was -- but let me ask 16 office. And it has some gray -- what looks like
17 —s-you this, were you aware (hal your father had been 417s gray highlighting here. | apologize for that.
18 in pain for a period of months prior to his death? 18 Sut there's a notation here §-2-03 that
19 A. Yes. 19 has the comment we just discussed.
20 MS. KOLB: Objection, form. 20 =A. Ub-huh. Yes, ‘
21 BY MR, FERGUSON; 21 @ And below that there is some writing that
22 &. Okay. Did you understand that to be 22 ~~ ‘| understand from your mother to be your father's
23° severe pain? 23° writing.
24 MS. KOLB: Objection, form. 24 =A. Okay.
25 25 @. Would you take a lock at that?

 

 

Neurontin Track One (Plaintiff / Prescriber / Expert Depos)

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